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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                        Case No.: 08-61937-Civ-Graham/Torres

  SARAH M. POLLOCK,

        Plaintiff,
  v.

  FINANCIAL CREDIT NETWORK, INC.,

       Defendant.
  _________________________________________/

                             NOTICE OF SETTLEMENT

        Plaintiff, Sarah M. Pollock, gives notice that the parties have reached a

  settlement and Plaintiff expects the parties will conclude the settlement process

  shortly and that the parties will file a joint dismissal with prejudice within 10 days.


                                          Respectfully submitted,

                                          DONALD A. YARBROUGH, ESQ.
                                          Attorney for Plaintiff
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                                          s/Donald A. Yarbrough
                                          Donald A. Yarbrough, Esq.
                                          Florida Bar No. 0158658
Case 0:08-cv-61937-DLG Document 14 Entered on FLSD Docket 04/10/2009 Page 2 of 2



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  _______________________________/

                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 10, 2009, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se
  parties identified on the attached Service List in the manner specified, either via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some
  other authorized manner for those counsel or parties who are not authorized to
  receive electronically Notices of Electronic Filing.



                                               s/Donald A. Yarbrough
                                               Donald A. Yarbrough, Esq.


                                   SERVICE LIST

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